      Case: 1:20-cv-07292 Document #: 30 Filed: 09/21/21 Page 1 of 5 PageID #:242




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

                                                      )
    LEAH LEVINGER,                                    )
                                                      )
                       Plaintiff,                     )
                                                      )   No. 1:20-cv-07292
                v.                                    )
                                                      )   Judge Robert M. Dow, Jr.
    CLAUDIA MORELL, MARIA ZAUMIDO,                    )
    ALEX KEEFE, and WBEZ a.k.a. CHICAGO               )
    PUBLIC MEDIA, INC.,                               )
                                                      )
                       Defendants.                    )
                                                      )


                     DEFENDANTS’ MOTION TO STAY DISCOVERY

        Defendants WBEZ, Claudia Morell, Maria Zamudio, and Alex Keefe (collectively,

“WBEZ”), hereby move this Court for a stay of discovery in this case, as well as a stay of the

parties’ obligations under Federal Rule of Civil Procedure 26, pending this Court’s ruling on

WBEZ’s forthcoming motion for sanctions pursuant to Federal Rule of Civil Procedure 11(C)(2).1

WBEZ’s forthcoming motion for sanctions requests dismissal of Plaintiff Leah Levinger’s

complaint with prejudice. In the alternative, WBEZ respectfully requests that this Court stay

discovery until this Court can set a status hearing on WBEZ’s motion for sanctions. In support of

this instant motion, WBEZ states the following:

                                         ARGUMENT

        This Court has extremely broad discretion in controlling discovery. Patterson v. Avery

Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002). This includes the discretion to limit the scope



1
  Counsel for WBEZ conferred with Plaintiff Leah Levinger via email to determine if she opposed
the relief sought by this motion. On September 21, 2021, Ms. Levinger informed counsel for
Defendants that she opposed WBEZ’s request to stay discovery.


                                                  1
    Case: 1:20-cv-07292 Document #: 30 Filed: 09/21/21 Page 2 of 5 PageID #:243




of discovery or control its sequence. Fed. R. Civ. P 26(c), (d). Motions to stay discovery are

appropriate where, like here, a forthcoming motion can resolve the case. In re Sulfuric Acid

Antitrust Litig., 231 F.R.D. 331, 337 (N.D. Ill. 2005); Sadler as Tr. Of Larry R. Sadler Irrevocable

Tr. v. Retail Props/ of Am. Inc., No. 12 C 5582, 2013 WL 12333447, at *1 (N.D. Ill. Sept. 27,

2013) (granting stay where motions to dismiss were not frivolous and were potentially dispositive,

noting that granting the motions could end or significantly reduce the case.) In determining

whether to grant a stay of discovery, judges in this district often consider “(i) whether a stay will

unduly prejudice or tactically disadvantage the non-moving party, (ii) whether a stay will simplify

the issues in question and streamline the trial, and (iii) whether a stay will reduce the burden of

litigation on the parties and on the court.” Pfizer Inc. v. Apotex Inc., 640 F. Supp. 2d 1006, 1007

(N.D. Ill. 2009).

       On August 23, 2021, this Court issued an Order granting in part and denying in part

WBEZ’s motion to dismiss. After identifying deficiencies in Ms. Levinger’s complaint, this Court

ordered Ms. Levinger to either amend her complaint or inform the court that she would stand on

her complaint as filed. The Court’s order further provided that the Parties needed to file a joint

status report within 7 days of Plaintiff’s filing, including a discovery plan. Absent the Court

granting the relief sought by this motion, the discovery plan would be due within 7 days.

       On September 3, 2021, and consistent with Rule 11(C)(2), WBEZ served Ms. Levinger

with a Rule 11 letter and a copy of a motion for sanctions requesting that Ms. Levinger voluntarily

dismiss her complaint. WBEZ’s letter and motion identified several emails from Ms. Levinger

and a recorded audio interview of Ms. Levinger establishing the substantial truth of the purportedly

defamatory statements in WBEZ’s article and that Ms. Levinger herself was a source for the

reporting.




                                                 2
    Case: 1:20-cv-07292 Document #: 30 Filed: 09/21/21 Page 3 of 5 PageID #:244




       WBEZ informed Ms. Levinger that her complaint did not conform to her Rule 11

obligations which require a certification that to the best of a person’s knowledge, “the factual

contentions [in the complaint] have evidentiary support or. . . will have evidentiary support after a

reasonable opportunity for further investigation or discovery.” Fed. R. Civ. P. 11(b)(3).

       Rule 11(C)(2) dictates that parties cannot file any motion for sanctions until 21 days after

service of the motion. Because WBEZ served Ms. Levinger with a copy of its motion for sanctions

on September 3, 2021, it cannot file their motion until September 24, 2021.

       Rather than respond to WBEZ’s Rule 11 letter, Ms. Levinger supplemented her complaint

on September 20, 2021. Her supplemental filing did not correct any of the deficiencies this Court

identified in its August 23 Order or the deficiencies identified in WBEZ’s Rule 11 letter.

       WBEZ is in the process of updating its motion for sanctions to account for Ms. Levinger’s

supplemental filing and intends on filing their motion for sanctions on Friday, September 24,

2021.2 Because of Ms. Levinger’s flagrant violations of her Rule 11 obligations, WBEZ’s motion

for sanctions requests that this Court dismiss Ms. Levinger’s complaint with prejudice.

       In light of the relief WBEZ requests in its motion for sanctions, WBEZ moves this court

stay discovery until that motion is resolved. The factors this Court is to consider in determining

whether to stay discovery all favor WBEZ. First, Ms. Levinger will not be prejudiced by a stay.

Sadler, 2013 WL 12333447 at *1 (noting that there is no prejudice where potential documents may

be obtained at a later date, if necessary and permissible). Second, if this Court grants WBEZ’s

motion for sanctions, this case will either be terminated or its scope will be substantially limited.



2
  Counsel for WBEZ is currently investigating whether they need to give an additional 21 day safe
harbor period in light of Ms. Levinger’s supplemental filing. If it turns out that WBEZ believe
they cannot file on September 24, 2021, they will so advise the Court of the date on which they
intend to file their motion if Ms. Levinger does not withdraw her pleadings.



                                                 3
    Case: 1:20-cv-07292 Document #: 30 Filed: 09/21/21 Page 4 of 5 PageID #:245




Id. Finally, in the absence of a stay, the parties will be required to expend substantial time and

resources in discovery related to a deficient complaint, as demonstrated by WBEZ’s forthcoming

motion. Id.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court stay discovery,

including the requirement that the Parties file a discovery plan, pending this Court’s ruling on

WBEZ’s forthcoming motion for sanctions. In the alternative, WBEZ respectfully requests that

this Court stay discovery, including the submission of a discovery plan, until this Court can set a

status hearing to address the issues raised by WBEZ’s motion for sanctions.


                                                    Respectfully submitted,

                                                    CLAUDIA MORELL, MARIA ZAMUDIO,
                                                    ALEX KEEFE, and WBEZ, a.k.a. CHICAGO
                                                    PUBLIC MEDIA, INC.


                                                    By:    /s Jason M. Bradford
                                                           One of Their Attorneys


 Jason M. Bradford
 William L. Von Hoene
 JENNER & BLOCK LLP
 353 North Clark Street
 Chicago, Illinois 60654
 (312) 222-9350




                                                4
    Case: 1:20-cv-07292 Document #: 30 Filed: 09/21/21 Page 5 of 5 PageID #:246




                               CERTIFICATE OF SERVICE

    I, William L. Von Hoene, an attorney, hereby certify that I caused a copy of the foregoing
Defendants’ Motion to Stay Discovery and the accompanying Notice of Motion to be served on
Plaintiff Leah Levinger by electronic mail, secure file transfer, and UPS on September 21, 2021:
                                                              /s/ William L. Von Hoene




                                               5
